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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DOMINIC SCOTT,

            Plaintiff,                     Case No. 19-cv-12095
v.
                                            Hon. Laurie J. Michelson

DEPENDABLE CLEANING CARPET
AND UPHOLSTERY CO.,
and JAMES H. TREMP,

            Defendants.
GOLD STAR LAW, P.C.                    KELLY LAW FIRM
Caitlin E. Malhiot (P76606)            David A. Keyes (P43917)
David A. Hardesty (38609)              Charles G. Kelly (P25282)
Attorneys for Plaintiff                Attorneys for Defendants
2701 Troy Center Dr., Ste. 400         627 Fort Street
Troy, Michigan 48084                   Port Huron, Michigan 48060
(248) 275-5200                         (810) 987-4111
cmalhiot@goldstarlaw.com               dkeyes@porthuronlaw.com
dhardesty@goldstarlaw.com              cgkelly@porthuronlaw.com


                         NOTICE OF CASE SETTLEMENT


      The parties have reached a settlement in this matter. The scheduling

conference set for Tuesday, October 1, 2019 at 9:30 am should be cancelled.
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GOLD STAR LAW, P.C.                  KELLY LAW FIRM

/s/Caitlin E. Malhiot                /s/David A. Keyes (w/ consent)
Caitlin E. Malhiot (P76606)          David A. Keyes (P43917)
David A. Hardesty (38609)            Charles G. Kelly (P25282)
Attorneys for Plaintiff              Attorneys for Defendants
2701 Troy Center Dr., Ste. 400       627 Fort Street
Troy, Michigan 48084                 Port Huron, Michigan 48060
(248) 275-5200                       (810) 987-4111
cmalhiot@goldstarlaw.com             dkeyes@porthuronlaw.com
dhardesty@goldstarlaw.com            cgkelly@porthuronlaw.com

Date: September 30, 2019




                        CERTIFICATE OF SERVICE

      I hereby certify that on September 30, 2019, I electronically filed the
foregoing document with the Clerk of the Court using the ECF system which will
send notification of such filing to all counsel registered electronically.


                                          /s/ Ashley Zabinski
                                          Ashley Zabinski
                                          GOLD STAR LAW, P.C.
